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                                                                                            FILED
                                                                                              AU6 09 2019
             UNITED STATES DISTRICT COURT                                                      SUSANY.SOONQ
                  FOR THE NORTHERN DISTRICT OF CALIFORNIA                                 CLERK, U.S. DISTRICT COURT
                                                                                       NORTHERN DISTRICT OFCAUFORNIA
                              San Francisco Venue



                Petition for Arrest Warrant for Offender Under Supervision


Name of Offender                                   Docket Number
Justin Batemon                                     0971 3:11CR00624- D07 WHA


Name of Sentencing Judge:        The Honorable William Alsup
                                 United States District Judge

Date of Original Sentence:       May 23, 2012

Original Offense
Conspiracy to Commit Bank and Wire Fraud, 18 U.S.C. § 1349, a C ass B Felony, Count Six:
Wire Fraud, 18 U.S.C. §1343, a Class C Felony.

Original Sentence: 37 months on each Counts oneand Six, both counts to run concurrently.

SpecialConditions; Drug treatment; no alcohol; $200 special assessment; $160,000 restitution;
access to financial information; search; DNA collection; and check voicemail.

Prior Form(s) 12: On June 23, 2015, the Court revoked Mr. Batemon's term of supervised
release and imposed a custodial sentence of six months and term of supervised release of three
(3) years. The Court also placed Mr. Batemon into residential drug treatment. The revocation
was a result of failure to follow the direction of the probation officer, failure to comply with
drug testing and association with gang members.

On September 6, 2016, the Court revoked Mr. Batemon's term of supervised release and
imposed acustodial sentence of two months. The Court also imposed athree (3) year term of
supervised release to include residential drug and alcohol treatment at New Bride foundation.
The revocation was based on substance abuse, failure to notify the prc^bation officer ofachange
in residence, failure to report as directed, and failure to follow the probation officer's direction.

On March 21, 2018, APetition for Summons for Offender Under Supervision was filed fol^^^^
testing positive for methamphetamine and failure to pay restitution. On June 14,2018, aPetitioiyC
for Arrest Warrant was filed for Mr. Batemon's continued noncompliance which included A
altering adrug test, failing to drug test and not notifying probation officer ofresidence. On July^^
24, 2018, the Court revoked Mr. Batemon's term ofsupervised release and imposed acustodid                      Q
sentence of 90 days followed by 33 months of supervised release, wi^ a special condition that
he shall reside in a residential reentry center for a period of up to twelve (12) months at the           f]
direction of the probation officer.



                                                                       NDC-SUPV-FORM 12C(1) 4/6/2015
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